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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
                         *
    v.                   *
                         *                     Criminal No. 18-00631 PX
TAEYAN RAYMOND WILLIAMS *
                         *
         Defendant.      *

              CONSENT MOTION TO CONTINUE MOTIONS HEARING

       COMES NOW, the Defendant, Taeyan Raymond Williams, by and through

counsel, Michael E. Lawlor, and Brennan, McKenna & Lawlor, Chtd., and hereby

moves this Honorable Court to continue the motions hearing in the above-captioned

case, and in support thereof states as follows:

       1.      Per prior Order of the Court, a motions hearing in the above-captioned

case is presently scheduled for two days beginning on Monday, March 7, 2022 at

9:30 a.m.

       2.      The Defendant respectfully asks this Court to continue the motions

hearing set for Monday, March 7, 2022 through Tuesday, March 8, 2022.

       3.      Undersigned counsel and the Government are in the process of plea

negotiations and will benefit from additional time in attempting to reach a resolution

prior to a motions hearing.

       4.      Upon ruling of this motion, a new motions hearing date will be cleared

with all parties.
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      5.      This motion is unopposed. Undersigned counsel contacted Assistant

United States Attorney William Moomau, and is authorized to state that the United

States consents to this request.

      WHEREFORE, for the foregoing reasons, the Defendant respectfully requests

this Honorable Court continue motions hearing currently scheduled in this case.

                                             Respectfully submitted,

                                                   /s/
                                             _____________________
                                             Michael E. Lawlor
                                             Brennan, McKenna & Lawlor, Chtd.
                                             6305 Ivy Lane, Suite 700
                                             Greenbelt, Maryland 20770
                                             301.474.0044
                                             mlawlor@verizon.net


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 2, 2022, a copy of the foregoing was

sent to the United States Attorney’s Office for the District of Maryland, via ECF.

                                                  /s/
                                             _____________________
                                             Michael E. Lawlor




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